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                       UNITED STATES COURT OF APPEALS
                            FOR THE SIXTH CIRCUIT
                             100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt          POTTER STEWART U.S. COURTHOUSE              Tel. (513) 564-7000
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                                             Filed: April 14, 2022


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                      Case No. 22-5308, 5G Corporation, et al v. Sprint Communications
                  Re: Company, L.P., et al
                      Originating Case No. : 2:21-cv-02350

Dear Counsel,

   This appeal has been docketed as case number 22-5308 with the caption that is enclosed on a
separate page. The appellate case number and caption must appear on all filings submitted to the
Court. If the filing fee was not paid when the notice of appeal was filed, it must be paid to the
district court immediately.

   Before preparing any documents to be filed, counsel are strongly encouraged to read the Sixth
Circuit Rules at www.ca6.uscourts.gov. If you have not established a PACER account and
registered with this court as an ECF filer, you should do so immediately. Your password for
district court filings will not work in the appellate ECF system.

    At this stage of the appeal, the following forms should be downloaded from the web site and
filed with the Clerk's office by April 28, 2022. Additionally, the transcript order must be
completed by that date. For further information and instructions on ordering transcript
electronically, please visit the court's website.
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                                 Appearance of Counsel
                   Appellant:    Civil Appeal Statement of Parties & Issues
                                 Disclosure of Corporate Affiliations
                                 Application for Admission to 6th Circuit Bar (if applicable)

                                 Appearance of Counsel
                   Appellee:     Disclosure of Corporate Affiliations
                                 Application for Admission to 6th Circuit Bar (if applicable)

    More specific instructions are printed on each form. If appellant's initial forms are not timely
filed or necessary fees paid, the appeal will be dismissed for want of prosecution. If you have
questions after reviewing the forms and the rules, please contact the Clerk's office for assistance.

                                                  Sincerely yours,

                                                  s/C. Anthony Milton
                                                  Case Manager
                                                  Direct Dial No. 513-564-7026


Enclosure
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            OFFICIAL COURT OF APPEALS CAPTION FOR 22-5308




5G CORPORATION; AMELIA VAUGHN

         Plaintiffs - Appellants

v.

SPRINT COMMUNICATIONS COMPANY, L.P.; APPLE, INC.; GOOGLE, LLC;
MICROSOFT CORPORATION; FACEBOOK PAYMENTS, INC.

         Defendants - Appellees
